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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

ROCHESTER DRUG CO-OPERATIVE, INC.                           Case No. 20-20230 (PRW)

                             Debtor.

Advisory Trust Group, LLC, as trustee of the RDC            Adv. Proc. No. 2-22-02061 (PRW)
LIQUIDATING TRUST,

                             Plaintiff,
         v.

ALCON LABORATORIES, INC.,

                             Defendant.

                STIPULATION EXTENDING TIME TO ANSWER COMPLAINT

         Plaintiff, RDC Liquidating Trust, through its trustee Advisory Trust Group, LLC (“Plaintiff”

or the “RDC Liquidating Trust”), successor in interest to Rochester Drug Co-Operative, Inc., and

defendant, Alcon Laboratories, Inc. (“Defendant”, and together with Plaintiff, the “Parties”), by and

through their undersigned attorneys, hereby stipulate and agree as follows:

         WHEREAS, on February 3, 2022, Plaintiff filed a complaint (the “Complaint”) against

Defendant;

         WHEREAS, the summons (the “Summons”) was issued on February 4, 2022; and

         WHEREAS, on February 4, 2022, Defendant was served with the Summons and Complaint.

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